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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :      Case No. 1:21-cr-225 (DLF)
       v.                                     :
                                              :
TRENISS JEWELL EVANS III,                     :
                                              :
               Defendant.                     :

                         NOTICE PURSUANT TO COURT ORDER

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this notice in response to the Order issued on

November 22, 2022, directing the parties to submit, under seal, proposed redactions to the

transcripts of the hearings held on September 13, 2022, and November 21, 2022.

       Pursuant to the November 22 Order, the government has filed, under seal, its proposed

redactions to the transcripts of the September 13, 2022 and November 21, 2022 hearings. We have

been unable to make a joint submission with the defense—as envisioned by the Court’s November

22, 2022 Order—because the defendant has not responded to the government’s proposed

redactions or proposed an alternative set of redactions. The government sent its proposed

redactions to counsel for the defendant by email on February 20 and 21, 2023. The government

followed up on February 25, 2023. Defense counsel indicated that he is currently in trial in another

matter, but provided no substantive response. In the late evening of February 28, 2023, defense

counsel informed the government that he is awaiting authorization from Mr. Evans to discuss the

matter with the government. The government is ready to discuss the matter with defense counsel

when he is authorized and willing to do so.
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February 28, 2023             Respectfully submitted,

                              MATTHEW M. GRAVES
                              UNITED STATES ATTORNEY
                              D.C. Bar No. 481052

                        By:   /s/ Francesco Valentini
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